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CASE No.; JALCHK§$‘T§"WL‘EUB:§Y£:{»J/

UNlTED sTATl-:s oF AMERICA, 3 ' \<6'_0\/" 337~6` 34 Gzl§

Plaintiff,
V.
sANDRA L. HALLOCK,

Defendant.

coMPLAINT

 

 

 

TO THE HONORABLE UNlTED STATES DISTRICT COURT JUDGE:
The United States of America, plaintiff, alleges that:
Jurisdiction

l. This Court hasjurisdiction over the subject matter of this action pursuant to Article III,
Section 2, U.S. Constitution and 28 U.S.C. 1345.

Venue

2. The Def`endant is a resident of Suwannee County, Florida within thejurisdiction ofthis
Court.
The Debt

3. The debt owed to the USA through February 23, 2018, is as follows:

A. Current Principal (after application of all
prior paymenls, credits, and offsets) $9,246.44

B. Current Capitalized lnterest Balance and $5,1 74. 13
Accrued lnterest

Total Owed - Claim Number 2010A46827 514,420.57

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LAW OFFICES
BECKER & POLIAKOFF, P.A.
121 ALHAMBRA PLAZA, lOTH FLOOR ' CORAL GABLES, FL 33134
TELEPHONE (305) 262-4433

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The Certif`lcate of lndebtedness, attached as Exhibit “A” show the total owed excluding attorney's
fees and CIF charges. The principal balance and the interest balance shown on the Certiflcate of
lndebtedness, is correct as of the date of the Certif`lcate of lndebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the variable rate of 4.08% per annum or
$1.03 per day.

Failure to Pay

4. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, P|aintiff, UNITED STATES OF AMERlCA, prays forjudgment:

A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the
date of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28
U.S.C. §1961 that interest on thejudgment be at the legal rate until paid in full;

B. For attomeys' fees to the extent allowed by law; and,

C. For such other relief which the Court deems oper.

DATEDthis lb dayofMarch,2018.

Respectfully su7‘r.itte ,

By: /

Steven M. Davisl/(Florida Bar No. 894249)
Email: sdavis@becker-oolia|<off.com

Becker & Poliakoff, P.A.

121 Alhambra Plaza, lOth Floor

Coral Gables, FL 33134

Telephone: (305)262-4433

Facsimile: (305) 442-2232

Attorneys for Plaintiff United Stales of America

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U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALlFORNIA

CERTlFICATE OF INDEBTEDNESS #1 OF 1

SANDRA L. HALLOCK
AKA SANDRA HALLOCK

Account No.

1 certify that U.S. Department of Education records show that the BORROWER named above is indebted
to the United States in the amount stated below plus additional interest from 02/23/2018.

On or about 02/07/ 1996, 06/26/1996, 07/08/1996, and 08/26/] 997, the BORROWER executed
promissory note(s) to secure loan(s) of $2,625.00, $1,217.00, $],9]2.00, and $2,243.00 from the U.S.
Department of Education. 'l`his loan was disbursed for $912.00 and $1,968.00 on 02/22/ 1996 through
05/14/1996, $305.00 and $657.00 on 07/18/1996 through 07/24/\1996, $1,912.00 on 08/28/1996 through
01/08/1997 and $l,l2l .00 on 09/04/ 1997 at a variable rate of interest to be established annually. The
loan was made by the Department under the William D. Ford Federa| Direct Loan Program under Title
lV, Part D ofthe Higher Education Act of 1965, as amended, 20 U.S.C. 1087a et seq. (34 C.F.R. Part
685). The Department demanded payment according to the terms of the note, and the BORROWER
defaulted on the obligation on 02/08/2006. Pursuant to 34 C.F.R. § 685.202(b), a total of $2,371.44 in
unpaid interest was capitalized and added to the principal balance.

The Department has credited a total of $5.36 in payments from all sources, including Treasury
Department offsets, if any, to the balance. After application of these payments, the BORROWER now
owes the United States the following:

Principal: $ 9,246.44
lnterest: $ 5,l74.l3
Total debt as Of 02/23/20] 82 $ 14,420.57

Interest accrues on the principal shown here at the current rate of 4.08 % and a daily rate of $l .03 through
June 30, 2018, and therealter at such rate as the Department establishes pursuant to Section 455(b) of the
Higher Edueation Act of 1965, as amended, 20 U.S.C. 1087e.

Pursuant to 28 U.S.C. § 1746(2), l certify under penalty of perjury that the foregoing is true and correct.

Ci¢

Loan Analyst
L,itigation Support Unit

   

Executed on: 3 / ‘L / \,K

 

EXH|B|T

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Case 3:18-cv-00397-I\/||\/|H-.]RK Document1-2 B|ell%§éy/ISBHB§QHMUIL

CIVIL COVER SHEET

JS 44 (Rc\'. 12/12)

The .1$ 44 civil cover sheet and the infonuation contained herein _neithcr replace nor supplement the iilin
provided b local rules 01` court. '1`his fonn, approved by the judicial Conlcrence of the

purpose 0 initiating thc civil docket sheet. (SEL" IN$'/'Rl/C'IYONS ON NI:`.\”/'I'AUI€ ()I¢' '/‘HlS F()RM.)

_ _ and service of pleadings or other papers as re uired by law, _exccpt as
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i. (a) PLAiNTiFFs
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(b) County of Residence of First Listed Plaintifl`

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(C) A¥fom€ys (Fi`rm Nalm', Ad¢lress, and Te/eplionc Number?
STEVEN M. DAV|S, BECKER & POL|AKOFF, P.A. (305) 262-4433

121 ALHAMBRA PLAZA, 1OTH FLOOR
CORAL GABLES, FLOR|DA 33134

DEFENDANTS

 

SANDRA L. HALLOCK

County of Residence of First Listed Defendant

SUWANNEE

(IN U.S. l’l.A/NTIFF CASI:`S ()N/.Y)

NOTE: lN LAND CONDEMNATION CASES, USE THE LOCATlON OF
THE TRACT OF LAND INVOLVED.
Attorneys (lfKnown)

 

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Vl. CAUSE OF ACTlON

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COMPLA|NT: UNDER RULE 23, F.R.Cv.Pl iuRY i)EMAi\'i): cl Yes d No
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